                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF TENNESSEE
                       GREENEVILLE DIVISION


ULTIMA SERVICES CORPORATION,         Case No.: 2:20-cv-00041-DCLC-CRW

                Plaintiff,        [PROPOSED] AMICUS CURIAE
                                  BRIEF OF TRIBAL AMICI IN
v.                                RESPONSE TO PLAINTIFF’S
                                  MOTION FOR ADDITIONAL
UNITED STATES OF AMERICA, et al., EQUITABLE RELIEF

                Defendants.




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                         INTERESTS OF AMICI CURIAE1

      Amici are a federally recognized Indian tribe and a national organization that

represents and advances Native American, Alaska Native, and Alaska Native

Corporation (ANC) interests.

      The amicus Indian tribe is the Tunica-Biloxi Tribe of Louisiana, which owns

and operates businesses that participate in the Small Business Administration (SBA)

8(a) Business Development Program (the 8(a) Program) and/or plan to apply for the

8(a) Program in the future. The core services provided by those businesses are

managed and technical support services.          Tunica-Biloxi intends to provide

administrative and technical services to agencies and reviews such 8(a) opportunities

when posted by any agency—including the Natural Resources Conservation Service

(NRCS)—to submit bids for such contracts.

      The amicus organization—the National Center for American Indian

Enterprise Development (NCAIED)—is a non-profit organization with over 50 years

of experience in assisting American Indian/Alaska Native-owned businesses and

American Indian tribes and their enterprises with business and economic

development.    NCAIED actively assists American Indian and Alaska Native

communities to develop economic self-sufficiency through business ownership,




      1 No counsel for a party authored this brief in whole or in part; and no person

or entity, other than amici and their counsel, made a monetary contribution intended
to fund the preparation and submission of this brief.


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increased workforce participation, viable businesses, and positive impacts on

reservation communities.

      Tribal 8(a) contracts are critical drivers of tribal economies. More than three-

quarters of non-gaming tribal enterprises operate in the four industries most

represented in government contracting.2 And over the last 20 years, 8(a) sole-source

contracts have been the top revenue producer across all Native contracting entities.3

Plaintiff’s pending motion now threatens these critical contracts.        Amici thus

respectfully submit this brief in support of neither party and in opposition to

Plaintiff’s overbroad request for additional equitable relief that goes beyond the

rebuttable presumption.4




      2 Matthew Gregg & Elijah Moreno, Examining Tribal Enterprises to
Determine Native Economic Development, Center for Indian Country Development
(July 14, 2021), https://www.minneapolisfed.org/article/2021/examining-tribal-
enterprises-to-understand-native-economic-development.
      3 Jacqui Baldwin-LeClair et al., Native Entities and the Federal Contracting

Landscape, Center for Indian Country Development (June 21, 2023), https://www.
minneapolisfed.org/article/2023/native-entities-and-the-federal-contracting-land
scape.
      4  At this stage, amici take no position on the merits of Plaintiff’s equal
protection arguments directed at defendants’ use of a rebuttable presumption or on
the propriety of additional equitable relief directed specifically at the rebuttable
presumption.


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                                  INTRODUCTION

      “This case concerns whether, under the Fifth Amendment’s guarantee of equal

protection, Defendants . . . may use a ‘rebuttable presumption’ of social disadvantage

for certain minority groups to qualify for inclusion in” the 8(a) Business Development

Program. Ultima Servs. Corp. v. U.S. Dep’t of Agric., No. 20-cv-00041, 2023 WL

4633481, at *1 (E.D. Tenn. July 19, 2023). Yet Plaintiff seeks relief that goes far

beyond this case’s subject matter. It asks this Court to “enjoin defendants from using

the Section 8(a) Program” at all “in the administrative and technical support

industry.” Pl.’s Mot. for Additional Equitable Relief (Pl.’s Mot.) at 1 (Sept. 15, 2023),

ECF No. 93.

      That broad request should be rejected. The 8(a) Program is much more than

just its rebuttable presumption. Most importantly, Native American tribes and ANCs

also participate in the 8(a) program.            See 15 U.S.C. § 637(a)(4)(A)(i)(II),

(a)(4)(A)(ii)(II), (a)(4)(B)(ii), (a)(13). And unlike individuals, tribes and ANCs do not

need to demonstrate that they are socially disadvantaged to participate. See 15

U.S.C. § 637(a)(4)(A), (B).     Thus, the “rebuttable presumption”—which helps

determine whether individual applicants are socially disadvantaged, see Ultima

Servs., 2023 WL 4633481, at *4—has nothing to do with the administration of the

tribal component of the 8(a) Program. Plaintiff nevertheless asks this Court to enjoin

entirely defendants from using the 8(a) Program in the administrative and technical

support industry—including in the tribal context. See Pl.’s Mot. at 1.




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      Plaintiff has not justified such sweeping relief.      Tribal classifications are

political classifications subject to a unique and deferential equal protection analysis,

and the equal protection arguments that Plaintiff has advanced cast no doubt on the

constitutionality of the 8(a) Program for tribes and ANCs. This Court in granting

Plaintiff’s motion for summary judgment thus properly limited its remedy to the

harm that Plaintiff identified—the rebuttable presumption. Ultima Servs., 2023 WL

4633481, at *1. Any relief that stymies tribal or ANC 8(a) contracts is beyond what

this Court should—and in fact, can—order. For these reasons and those that follow,

amici respectfully urge this Court to deny Plaintiff’s motion for additional equitable

relief to the extent it seeks a remedy not directed at the 8(a) Program’s rebuttable

presumption.

                                     ARGUMENT

      From its earliest days, the United States has assumed a commitment to protect

Indian tribes. When tribes made peace with the United States and ceded lands that

today constitute the United States, treaties promised “protection” in return.5 When

the United States seized Indian lands, it “placed Native Americans in a state of

coerced dependency,” a relationship that the United States “forcibly established.”

Cobell v. Babbitt, 91 F. Supp. 2d 1, 7 (D.D.C. 1999), aff’d and remanded sub nom.

Cobell v. Norton, 240 F.3d 1081 (D.C. Cir. 2001). Even still, the United States




      5 Cohen’s Handbook of Federal Indian Law, § 1.02[3], at 20–21 (Nell Jessup

Newton et al. eds., 2012).


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promised “to . . . protect[]” the Indian occupants. Johnson v. M’Intosh, 21 U.S. (8

Wheat.) 543, 591 (1823).      Today we call that commitment the “general trust

relationship” between the United States and Indians, encompassing “a fiduciary

obligation . . . owed to all Indian tribes.” United States v. Jicarilla Apache Nation,

564 U.S. 162, 182–83 (2011) (quotation marks omitted). This relationship represents

“‘moral obligations of the highest responsibility and trust,’ obligations ‘to the

fulfillment of which the national honor has been committed.’” Id. at 176 (citations

omitted).

      Recognizing the trust relationship, Congress has made tribal corporations and

ANCs eligible for certification under the 8(a) Program. The Program arises out of

Congress’s longstanding efforts through Section 8(a) of the Small Business Act, 15

U.S.C. § 637(a), to ensure that government contracting neither reflects nor reinforces

existing patterns of discrimination. The 8(a) Program aims to provide socially and

economically disadvantaged businesses access to the economic mainstream.6 Unlike

individual applicants, Indian tribes and ANCs are subject to different standards in

applying to the 8(a) Program, including that Indian tribes and ANCs need not

demonstrate that they are socially disadvantaged to participate, see 15 U.S.C.




      6 15 U.S.C. § 637(a)(5) (“[s]ocially disadvantaged” individuals are “those who

have been subjected to racial or ethnic prejudice or cultural bias [within American
society] because of their identit[ies] as members of a group”); 13 C.F.R. § 124.103(a);
15 U.S.C. § 637(a)(6)(A) (“[e]conomically disadvantaged” individuals are socially
disadvantaged individuals whose economic potential “has been impaired due to
diminished capital and credit opportunities”); 13 C.F.R. § 124.104(a).


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§ 637(a)(4)(A), (B), and are thus not subject to the rebuttable presumption at issue in

this case.

      Participation in the 8(a) Program is integral to furthering Congress’s policy of

tribal self-governance.7   Any relief provided in this case—which relates to the

rebuttable presumption used to evaluate certain individual applicants to the

Program—should not sweep so broadly as to undermine the ability of Indian tribes

and ANCs to access the contracting benefits of the 8(a) Program.




      7 See Contracting Preferences for Alaska Native Corporations: Hearing Before

the Subcomm. on Contracting Oversight of the S. Comm. on Homeland Security and
Gov’t Affairs, 111th Cong. 77 (2009) (written statement of Sarah Lukin) (quoting
Jovita Carranza, Deputy Administrator, SBA) (“8(a) is an important source of
revenue for Native American firms in particular . . . Indian Reservations are the
underserved communities of underserved communities. While it may be challenging
to encourage lenders to expand their rural or inner city programs, we all know the
challenges are much greater for Indian Reservations. And this, we recognize, is
crippling for small business ventures, which need capital to start, to grow and to
create jobs and opportunities. Successfully starting a small business under the most
auspicious conditions is a Herculean task. But the additional challenges that Native
Americans face make it all the more so. Limited access to markets, limited access to
an experienced workforce, and limited infrastructure are just a few problems. For
these reasons, 8(a) is an essential program for developing Native American
economies.”); Indian Economic Development-Part I: Oversight Hearing Before the
Subcomm. on Native American Affairs of the H. Comm. on Natural Resources, 103d
Cong. 4–5 (1993) (statement of Fort Peck Tribes Chairman Caleb Shields) (“The major
Indian problem facing our country today is providing economic development - to bring
economic justice to Indians, as part of the American Commonwealth.” The tribes’
“brightest economics success” is in “the area of Federal contracting.”).


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I.    Tribal classifications are political in nature and subject to a unique and
      deferential equal protection analysis

      Under the Due Process Clause of the Fifth Amendment, the federal

government is prohibited from “deny[ing] equal protection of the laws.” Vance v.

Bradley, 440 U.S. 93, 94 n.1 (1979). This “equal-protection component” of the Fifth

Amendment largely parallels the Equal Protection Clause of the Fourteenth

Amendment. United States v. Vaello Madero, 142 S. Ct. 1539, 1541 (2022). But

importantly, equal protection—whether under the Fifth Amendment or the

Fourteenth—does not prohibit laws from drawing classifications. Rather, “[i]t simply

keeps governmental decisionmakers from treating differently persons who are in all

relevant respects alike.” Nordlinger v. Hahn, 505 U.S. 1, 10 (1992). Moreover, equal

protection is not in fact identical under the two amendments. Under the Fifth

Amendment, in areas of “paramount federal power,” Hampton v. Wong, 426 U.S. 88,

100 (1976), equal protection analysis “involves significantly different considerations,”

Mathews v. Diaz, 426 U.S. 67, 84 (1976). The result of these two tenets is that equal

protection analysis under the Fifth Amendment varies significantly depending on the

classification employed.

      1.     Applying these principles, the U.S. Supreme Court has long held that

the federal government’s use of tribal classifications is subject to its own, unique

equal protection analysis. In the seminal Morton v. Mancari, 417 U.S. 535 (1974),

the Court rejected an equal protection challenge to a Bureau of Indian Affairs

employment preference for qualified Indians. Id. at 537–38. Observing that “[o]n

numerous occasions” it had “upheld legislation that singles out Indians for particular



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and special treatment,” the Court explained that tribal classifications are permissible

so long as they are “tied rationally to the fulfillment of Congress’ unique obligation

toward the Indians.” Id. at 554–55. Since then, the Supreme Court has upheld every

tribal classification it has considered that was challenged on equal protection

grounds. See Washington v. Wash. State Commercial Passenger Fishing Vessel

Ass’n, 443 U.S. 658, 673 n.20 (1979) (special fishing rights for individual Indians);

Washington v. Confederated Bands & Tribes of Yakima Indian Nation, 439 U.S. 463,

500–02 (1979) (state regulation of criminal conduct in Indian country); United States

v. Antelope, 430 U.S. 641, 646 (1977) (federal prosecution of Indians); Del. Tribal Bus.

Comm. v. Weeks, 430 U.S. 73, 84–90 (1977) (distribution of funds to certain Indians);

Moe v. Confederated Salish & Kootenai Tribes of Flathead Rsrv., 425 U.S. 463, 479–

80 (1976) (preemption of state taxes as applied to Indians); Fisher v. Dist. Ct. of

Sixteenth Judicial Dist. of Mont., 424 U.S. 382, 390–91 (1976) (per curiam) (exclusive

tribal court jurisdiction over on-reservation Indian adoptions); see also Haaland v.

Brackeen, 143 S. Ct. 1609, 1638 (2023) (rejecting equal protection challenge to federal

Indian Child Welfare Act for lack of standing).

      Tribal classifications are subject to deferential equal protection review for good

reasons. First, “classifications expressly singling out Indian tribes as subjects of

legislation are expressly provided for in the Constitution.” Antelope, 430 U.S. at 645.

The Constitution, for instance, grants Congress the “Power . . . [t]o regulate

Commerce . . . with the Indian Tribes.” U.S. Const. art. I, § 8, cl. 3. It also authorizes

treaties and incorporates into federal law those treaties that were already made at




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the Founding, including tribal treaties. See id. art. II, § 2, cl. 2; art. VI, cl. 2. As then-

Judge Scalia thus observed, “Indians” are “a proper subject for separate legislation.”

United States v. Cohen, 733 F.2d 128, 139 (D.C. Cir. 1984) (en banc) (op. by Scalia,

J.) (quoting Antelope, 430 U.S. at 649 n.11).

       Second, tribal classifications are “political rather than racial.” Mancari, 417

U.S. at 553 n.24. It is well established that “Indian tribes are ‘distinct, independent

political communities, retaining their original natural rights’ in matters of . . . self-

government.”     Santa Clara Pueblo v. Martinez, 436 U.S. 49, 55 (1978) (quoting

Worcester v. Georgia, 31 U.S. (6 Pet.) 515, 559 (1832)). “They have the power to make

their own substantive law in internal matters and to enforce that law in their own

forums.”    Id. at 55–56 (internal citation omitted).          And they “pre-exist[] the

Constitution” itself. Id. at 56. Laws directed at tribal entities are thus equivalent to

laws directed at foreign sovereigns, not laws that single out racial groups.8

       Third, the “history of the Federal Government’s relations with Indians”

confirms the United States’ ability to draw tribal classifications. Antelope, 430 U.S.

at 645. Congress from the beginning has enacted legislation protecting Indians’




       8 The makeup of tribal entities, moreover, does not cleanly correlate with race.

Tribal classifications “exclude many individuals who are racially . . . ‘Indians.’”
Mancari, 417 U.S. at 553 n.24. And they can include individuals who lack Native
American ancestry. E.g., Const. of the Kiowa Tribe art. IV, § 1(b) (extending
membership to descendants of “Kiowa Captive[s],” which includes persons who are
not racially Native American); United States v. Rogers, 45 U.S. (4 How.) 567, 572–73
(1846) (noting that “a white man” was “adopted in an Indian tribe”).


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lands, regulating their trade, punishing crimes against them, managing their

resources, and providing education, housing, and healthcare—all in reliance on the

principle that Congress may legislate specifically for Indians. E.g., Act of July 22,

1790, ch. 33, §§ 1, 4–5, 1 Stat. 137, 137–38; 25 U.S.C. §§ 391, 1601, 2000, 3102. “If

these laws, derived from historical relationships and explicitly designed to help only

Indians, were deemed invidious racial discrimination, an entire Title of the United

States Code (25 U.S.C.) would be effectively erased and the solemn commitment of

the Government toward the Indians would be jeopardized.” Mancari, 417 U.S. at 552.

       2.     Consistent with this distinction, the 8(a) Program sets forth different

requirements for businesses owned by Indian tribes and ANCs than the requirements

for businesses owned by individuals.

       First, both Indian tribes and ANCs are considered socially disadvantaged by

statute, and thus are not subject to the rebuttable presumption of social disadvantage

at issue in this case. See 15 U.S.C. § 637(a)(4)(A)(i)(II), (a)(4)(A)(ii)(II), (a)(4)(B)(ii),

(a)(13); see also 13 C.F.R. § 124.109(a), (b)(1), entitled “Do Indian tribes and Alaska

Native Corporations have any special rules for applying to and remaining eligible for

the 8(a) BD program? .

       Second, ANCs that meet certain equity and voting requirements are “deemed

economically disadvantaged under 43 U.S.C. [§] 91626(e) and need not establish

economic disadvantage.” See 13 C.F.R. § 124.109(a)(2).

       Third, while tribes do have to demonstrate economic disadvantage, the

standards for establishing economic disadvantage for tribes differ from those for




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individuals. A tribe can demonstrate economic disadvantage by presenting data

related to the tribal unemployment rate, the number of tribal members, the per capita

income of tribal members, and other similar data, without any express thresholds to

meet. 13 C.F.R. § 124.109(b)(2); see also 15 U.S.C. § 637(a)(6)(A) (“In determining

the economic disadvantage of an Indian tribe, the Administration shall consider,

where available, information such as the following: the per capita income of members

of the tribe excluding judgment awards, the percentage of the local Indian population

below the poverty level, and the tribe’s access to capital markets.”). An individual,

by contrast, must submit financial information including income for the past three

years, personal net worth, and the fair market value of all assets; if certain thresholds

are exceeded, the individual will be deemed not economically disadvantaged. See 13

C.F.R. § 124.104(c).

      Fourth, unlike businesses owned by individuals, “[o]nce an Indian Tribe

establishes that it is economically disadvantaged in connection with the application

for one Tribally-owned firm, it need not reestablish such status in order to have other

businesses that it owns certified for [8(a) Program] participation, unless specifically

requested to do so by the [SBA Associate Administrator, Office of Business

Development].” 13 C.F.R. § 124.109(b).

      Fifth, Indian tribes are exempt from the normal affiliation rules governing

small businesses, such that a Tribally-owned firm’s size is generally determined

independently without regard to its affiliation with the tribe, any entity of the tribal

government, or any other business enterprise owned by the tribe.              13 C.F.R.




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§ 124.109(c)(2)(iii). By contrast, businesses owned by a disadvantaged individual are

subject to the SBA’s standard rules governing size status, and multiple companies

owned by the same individual will be deemed affiliated (and therefore their employee

counts and/or revenue aggregated) for purposes of determining whether the business

is small. See 13 C.F.R. § 124.102(a).9


II.   Plaintiff ’s requested relief improperly sweeps in tribal and ANC businesses

      1.     In this case, Plaintiff challenges the use of the rebuttable presumption

in identifying socially disadvantaged individuals for participation in the 8(a)

Program.    See Complaint ¶ 18 (Mar. 4, 2020), ECF 1 (Compl.) (challenging the

definitions in 13 C.F.R. § 124.103, which defines “‘socially disadvantaged’

individuals ” and sets forth a rebuttable presumption of social disadvantage for such

individuals (emphasis added)). Plaintiff’s legal theory is that “[b]y presuming that

members of certain racial groups are socially disadvantaged, defendants and the

Section 8(a) Program discriminate on the basis of race.” Compl. ¶ 41. Nowhere,

however, does Plaintiff challenge the political classifications of Indian tribes or ANCs

as prescribed by statute in 15 U.S.C. § 637(a) and as set forth in regulation by 13

C.F.R. § 124.109. Nor could it.




      9 These examples are not intended to encompass all differences between Indian

tribes and individually-owned business who participate in the 8(a) Program.


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      Under the proper equal protection framework, see Section I, supra, the 8(a)

Program is plainly constitutional as applied to Indian tribes and ANCs. Allowing

tribal participation in the 8(a) Program is “tied rationally to the fulfillment of

Congress’ unique obligation toward the Indians,” Mancari, 417 U.S. at 555, because

it is “intended to benefit” them and “further[] the congressional policy of Indian self-

government,” Fisher, 424 U.S. at 391. Indeed, cases that considered similar tribal

preferences have found that they easily survive equal protection scrutiny. E.g., AFL-

CIO v. United States, 330 F.3d 513, 516, 519 (D.C. Cir. 2003) (holding that regulation

allowing Air Force to bypass usual procedure for awarding a civil engineering

contract and grant the contract to a tribally owned firm did not violate equal

protection); Alaska Chapter, Associated Gen. Contractors of Am., Inc. v. Pierce, 694

F.2d 1162, 1163 (9th Cir. 1982) (same for regulation implementing a preference to

Indian-owned economic enterprises for contracts to build housing for Indians).

Plaintiff has not argued otherwise; in fact, it has never even targeted the 8(a)

Program’s tribal provisions.10

      Plaintiff nevertheless sought relief over the course of this litigation that

impacts 8(a) contracts for Indian tribes and ANCs. For example, the Complaint

sought “[i]njunctive relief precluding defendants from reserving NRCS [Natural

Resources Conservation Service] contracts for the Section 8(a) Program.” Compl. at




      10 For purposes of this brief, Amici’s analysis is limited to the 8(a) provisions

that apply to tribes and ANCs, not individual tribal members.


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10 (Demand for Judgment (B)).         And Plaintiff’s Motion for Summary Judgment

doubled down on the Complaint’s “claim for declaratory relief and an injunction

precluding defendants from reserving contracts for administrative and technical

support to the 8(a) program” with no recognition of the separate eligibility for Indian

tribes and ANCs. Pl.’s Mem. ISO Mot. for Summ. J. at 1 (June 21, 2022), ECF 60-2

(Mot. for Summ. J.).

       Rather than accept such overbroad relief when it ruled on the parties’ dueling

motions for summary judgment, this Court properly tailored its remedy to the equal

protection theory Plaintiff advanced.           This Court declared the rebuttable

presumption unconstitutional. Ultima Servs., 2023 WL 4633481, at *18. And it

enjoined defendants from using that presumption. Id.

       In the motion now pending before this Court, Plaintiff again demands relief

that is far broader than its legal theory permits. Plaintiff asks this Court for “an

additional injunction protecting it from Section 8(a) set asides within the industry in

which it participates, the administrative and technical support industry.” Pl.’s Mem.

of L. with Respect to Equitable Relief at 6 (Sept. 15, 2023), Dkt. 93-1; id. at 9 (Plaintiff

is seeking “an order precluding defendants from using the 8(a) Program in her

industry”); id. at 12 (asking the court to “enjoin defendants from using the Section

8(a) Program in the administrative and technical support industry”). Plaintiff further

requests “a temporary halt to contract approvals until its application for resolution

of the scope of the July 19 injunction and its request for additional equitable relief is

resolved.” Id. at 6–7.




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      The relief requested in Plaintiff’s motion fails to distinguish between contracts

awarded to individuals—the part of the 8(a) Program that Plaintiff challenges and

that employs the rebuttable presumption—from contracts awarded to Indian tribes

and ANCs—which do not involve the rebuttable presumption.                  See 13 C.F.R.

§ 124.109.11    To the extent it applies to contracts unaffected by the challenged

rebuttable presumption for individuals, the broad scope of the relief Plaintiff

demands is improper.

      2.       Article III principles dictate that “[a] plaintiff’s remedy must be tailored

to redress the plaintiff’s particular injury.” Gill v. Whitford, 138 S. Ct. 1916, 1934

(2018); Lewis v. Casey, 518 U.S. 343, 357 (1996) (explaining that permitting a remedy

that sweeps further than a plaintiff’s injury would undermine the purpose of the

“actual-injury requirement” of the standing inquiry, which is to “prevent[] courts

from undertaking tasks assigned to the political branches”).

      The particular injury of which Plaintiff complains is premised on an alleged

race-based classification, not any political classification, and Plaintiff complains of

the Program as it pertains to individually-owned (not tribally- or ANC-owned)

businesses. Plaintiff’s legal theory is that “[b]y presuming that members of certain




      11 It its brief in support of its Motion for Summary Judgment, Plaintiff
acknowledges that “[t]he rules for entity-owned companies differ from those for
businesses owned by individuals.” Mot. for Summ. J. at 10 (noting that “Indian tribes
(including ANCs) and NHOs are deemed socially disadvantaged”). However, Plaintiff
never accounts for these differences in its requests for relief.


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racial groups are socially disadvantaged, defendants and the Section 8(a) Program

discriminate on the basis of race.” Compl. ¶ 41 (emphasis added); see also id. ¶ 44

(alleging that “defendants’ race discrimination in the Section 8(a) Program violates

the Fifth Amendment to the United States Constitution” (emphasis added)).

      Indeed, throughout both the Complaint and its subsequent filings, Plaintiff

makes clear that the theory of the case is premised on race-based distinctions. See

Compl. ¶ 31 (“Even assuming there was evidence of underrepresentation of particular

racial groups in the administrative and/or technical support service industry,

defendants have no evidence that such underrepresentation was a consequence of

discrimination either by the federal government or in which the federal government

was a passive participant.” (emphasis added)); id. ¶ 32 (“In amending Section 8(a) of

the Small Business Act in 1978, Congress did not have any evidence that any

underrepresentation of particular racial groups in federal government contracting

was a consequence of discrimination either by the federal government or in which the

federal government was a passive participant.” (emphasis added)).12




      12 Id. ¶ 35 (“USDA has had a racial motive in reserving NRCS administrative

and/or technical support service contracts for the Section 8(a) Program.”); id. ¶ 38
(“As operated by the SBA, the Section 8(a) Program has no criteria by which the SBA
can determine that specific racial groups should no longer have its members
presumed to be socially disadvantaged.”); Pl.’s Mem. in Opp’n to Defs.’ Mot to Dismiss
at 7 (July 31, 2020), ECF 25 (“the Complaint alleges that defendants have a racial
motive in using the Section 8(a) Program”); id. at 3 (explaining that the Complaint
“alleges that the USDA has had a racial motive in utilizing the Section 8(a) Program
for contracts in Ultima’s industry”); see also Mot. for Summ. J. at 20 (continually



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      To the extent this Court concludes that Plaintiff is entitled to a remedy, that

remedy “must of course be limited to the inadequacy that produced the injury in fact

that the plaintiff has established.” Lewis, 518 U.S. at 357; Kentucky v. Yellen, 54

F.4th 325, 341 n.12 (6th Cir. 2022) (same); see also E. Bay Sanctuary Covenant v.

Barr, 934 F.3d 1026, 1029 (9th Cir. 2019) (“An injunction must be narrowly tailored

to remedy the specific harm shown.” (internal quotation mark omitted)).

      As the Sixth Circuit recently recognized, “when a plaintiff has been injured by

one part of a law, the plaintiff cannot invoke that injury to challenge other parts of

the law that have done nothing to the plaintiff.” Davis v. Colerain Twp., No. 21-3723,

2022 WL 4351074, at *3 (6th Cir. Sept. 20, 2022); see also Ass’n of Am. Physicians &

Surgeons v. U.S. Food & Drug Admin., 13 F.4th 531, 540 (6th Cir. 2021) (“a plaintiff

cannot ‘combin[e] a request for injunctive relief for which he has standing with a

request for injunctive relief for which he lacks standing’” (quoting Salazar v. Buono,

559 U.S. 700, 731 (2010) (Scalia, J., concurring in the judgment))). Here, Plaintiff

cannot combine injunctive relief related to the rebuttable presumption for individuals

with an injunction that halts the Program’s application to Indian tribes and ANCs.

A federal court’s equitable powers do not sweep so far as to over an injunction that

chokes an entirely separate arm of the 8(a) Program that is not covered by Plaintiff’s




referring to the rebuttable presumption as a “racial presumption” or “racial
preference”); Pl.’s Resp. in Opp’n to Defs.’ Mot. for Summ. J. at 17, 33 (July 12, 2022),
ECF 70 (calling the rebuttable presumption a “racially-preferential presumption” and
the 8(a) Program a “racially-discriminatory program”).


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legal theory. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006) (plaintiffs’

injury “with respect to their municipal taxes, . . . does not entitle them to seek a

remedy as to the state taxes”); accord Trump v. United States, No. 22-13005, 2022

WL 4366684 (11th Cir. Sept. 21, 2022) (finding abuse of discretion in exercise of

equitable jurisdiction in connection with criminal investigation).

      Amici ask this Court to apply the same restraint in connection with the present

motion that it applied when it ruled on the parties’ motions for summary judgment.

Because none of Plaintiff’s theories implicate Indian tribes or ANCs, any relief

granted in response to the pending motion should not impact tribal or ANC 8(a)

contracts.

                                    *     *      *

      A final note: Both parties have improperly burdened Indian tribes and ANCs

in their approach to this case.13

      In response to this Court’s injunction at summary judgment—which enjoined

the Defendants “from using the rebuttable presumption of social disadvantage in

administering Defendant SBA's 8(a) program,” Ultima, 2023 WL 4633481, at *18—

SBA has suspended all new 8(a) application submissions while it revises the

application questionnaire to comply with the Court’s decision, including those from




      13 For that reason, Amici submit this brief in support of neither party.




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Indian tribes and ANCs.14 Because Indian tribes and ANCs are not subject to the

rebuttable presumption, the Court’s existing injunction plainly does not prohibit the

Defendants from accepting 8(a) submissions from Indian tribes and ANCs. Amici ask

that this Court remain aware of the different certification process for Indian tribes

and ANCs, and treat with skepticism any position (from either party) that obscures

this distinction.


                                    CONCLUSION

       For the foregoing reasons, Amici respectfully ask this Court to deny Plaintiffs’

motion to the extent it seeks relief not directed at the 8(a) Program’s rebuttable

presumption.




       14 See Small Business Administration, https://certify.sba.gov/ (last visited Sept.

27, 2023) (“On July 19, 2023, the United States District Court for the Eastern District
of Tennessee enjoined SBA from applying a rebuttable presumption of social
disadvantage to individuals of certain racial groups applying to the 8(a) Business
Development program. SBA has temporarily suspended new 8(a) application
submissions to comply with the Court’s decision.”).


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Dated: September 29, 2023                   Respectfully submitted,

                                            /s/ Benjamin K. Raybin

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